Case 0:16-cv-61729-DPG Document 1 Entered on FLSD Docket 07/20/2016 Page 1 of 13




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                       Case No.: 0:16-cv-61729

  SYMBOLOGY INNOVATIONS, LLC,

         Plaintiff

  v.

  BROTHER INTERNATIONAL
  CORPORATION,

         Defendant.

                      COMPLAINT AND DEMAND FOR JURY TRIAL
                          (INJUNCTIVE RELIEF DEMANDED)

         Plaintiff Symbology Innovations, LLC (“Plaintiff” or “Symbology”) files this

  Complaint against Brother International Corporation (“Defendant” or “Brother”) for

  infringement of United States Patents No. 8,424,752, No. 8,651,369, and No. 8,936,190

  (hereinafter “the ‘752 Patent,” “the ‘369 Patent,” and “the ‘190 Patent”).

                           PARTIES, JURISDICTION AND VENUE

         1.      This is an action for patent infringement under Title 35 of the United States

  Code. Plaintiff is seeking injunctive relief as well as damages.

         2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

  Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

  under the United States patent statutes.

         3.      Plaintiff is a Texas limited liability company with its principal office located at

  1400 Preston Road, Suite 400, Plano, Texas 75093.

         4.      On information and belief, Defendant is a Delaware corporation with its

  principal place of business at 100 Somerset Corporate Blvd., Bridgewater, NJ 08807-0911.

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Case 0:16-cv-61729-DPG Document 1 Entered on FLSD Docket 07/20/2016 Page 2 of 13




          5.      This Court has personal jurisdiction over Defendant because Defendant has

  committed, and continues to commit, acts of infringement in the state of Florida, has conducted

  business in the state of Florida, and/or has engaged in continuous and systematic activities in

  the state of Florida.

          6.      Upon information and belief, Defendant’s instrumentalities that are alleged

  herein to infringe were and continue to be used, imported, offered for sale, and/or sold in the

  Southern District of Florida.

          7.      Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. §§

  1391(c) and 1400(b) because Defendant is deemed to reside in this District. In addition, and in

  the alternative, Defendant has committed acts of infringement in this District.

                                     COUNT I
                (INFRINGEMENT OF UNITED STATES PATENT NO. 8,424,752)

          8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

          9.      This cause of action arises under the patent laws of the United States and, in

  particular, under 35 U.S.C. §§ 271, et seq.

          10.     Plaintiff is the owner by assignment of the ‘752 Patent with sole rights to

  enforce the ‘752 Patent and sue infringers.

          11.     A copy of the ‘752 Patent, titled “System and Method for Presenting

  Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit A.

          12.     The ‘752 Patent is valid, enforceable, and was duly issued in full compliance

  with Title 35 of the United States Code.

          13.     On information and belief, Defendant has infringed and continues to infringe

  one or more claims, including at least Claim 1, of the ‘752 Patent by using and/or incorporating

  Quick Response Codes (QR codes) in advertising media in a manner covered by one or more
                                                   2
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Case 0:16-cv-61729-DPG Document 1 Entered on FLSD Docket 07/20/2016 Page 3 of 13




  claims of the ‘752 Patent. Defendant has infringed and continues to infringe the ‘752 Patent in

  violation of 35 U.S.C. § 271.

         14.     On information and belief, Defendant has, at least through internal testing, used

  or incorporated QR codes in advertising media, associating such QR codes with products

  and/or services. One specific example of Defendant’s activity involves the use of QR codes in

  Internet advertisements for Defendant’s “Brother iPrint&Scan” app. (“Product”).

         15.     For example, on information and belief, Defendant has at least internally tested

  the functionality of its QR codes in connection with the Internet advertising of its Product. On

  information and belief, Defendant has captured a digital image of a QR code associated with

  such advertising, an example of which is shown below and may be viewed at:

  http://www.brother-usa.com/downloads/android-app-printing.aspx




         16.     On information and belief, Defendant’s advertisement informs users that they
                                                3
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Case 0:16-cv-61729-DPG Document 1 Entered on FLSD Docket 07/20/2016 Page 4 of 13




  can scan the QR through their smartphone to obtain information relating to the Product. On

  information and belief, at least through internal testing, Defendant has used a digital image

  capturing device of a portable electronic device, such as the camera component of a smart

  phone for example, to capture a digital image of the QR code associated with the advertisement

  its Product.

         17.       On information and belief, Defendant’s capture of the digital image is processed

  by scanning technology loaded onto the portable electronic device. The scanning technology

  detects symbology (for example, a pattern within the QR code) associated with an object (for

  example, the QR code itself). On information and belief the scanning technology is used to

  decode the symbology to obtain a decode string. The decode string is sent to a remote server

  for further processing. Based on the decode string, the remote server sends information

  associated with the QR code, which is received by the user of the portable electronic device

  and displayed on a display associated with the portable electronic device.

         18.       For example, if a user scans a QR code associated with the advertising of the

  Product, scanning technology decodes the pattern of the QR code to obtain a decode string and

  sends the decode string to a remote server. The server returns information associated with the

  QR code. In this example, the information received by the user and displayed on the portable

  electronic device is additional information about the Product as illustrated below, including,

  but not limited to, information on downloading the Product:




                                                   4
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Case 0:16-cv-61729-DPG Document 1 Entered on FLSD Docket 07/20/2016 Page 5 of 13




         19.     Defendant’s actions complained of herein will continue unless Defendant is

  enjoined by this court.

         20.     Defendant’s actions complained of herein are causing irreparable harm and

  monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

  and restrained by this Court.

         21.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                   COUNT II
               (INFRINGEMENT OF UNITED STATES PATENT NO. 8,651,369)

         22.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

         23.     This cause of action arises under the patent laws of the United States and, in

  particular, under 35 U.S.C. §§ 271, et seq.

                                                  5
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Case 0:16-cv-61729-DPG Document 1 Entered on FLSD Docket 07/20/2016 Page 6 of 13




         24.     Plaintiff is the owner by assignment of the ‘369 Patent with sole rights to

  enforce the ‘369 Patent and sue infringers.

         25.     A copy of the ‘369 Patent, titled “System and Method for Presenting

  Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit B.

         26.     The ‘369 Patent is valid, enforceable, and was duly issued in full compliance

  with Title 35 of the United States Code.

         27.     On information and belief, Defendant has infringed and continues to infringe

  one or more claims, including at least Claim 1, of the ‘369 Patent by using and/or incorporating

  Quick Response Codes (QR codes) in advertising media in a manner covered by one or more

  claims of the ‘369 Patent. Defendant has infringed and continues to infringe the ‘369 Patent in

  violation of 35 U.S.C. § 271.

         28.     On information and belief, Defendant has, at least through internal testing, used

  or incorporated QR codes in advertising media, associating such QR codes with products

  and/or services. One specific example of Defendant’s activity involves the use of QR codes in

  Internet advertisements for Defendant’s “Brother iPrint&Scan” app. (“Product”).

         29.     For example, on information and belief, Defendant has at least internally tested

  the functionality of its QR codes in connection with the Internet advertising of its Product. On

  information and belief, Defendant has captured a digital image of a QR code associated with

  such advertising, an example of which is shown below and may be viewed at:

  http://www.brother-usa.com/downloads/android-app-printing.aspx




                                                  6
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Case 0:16-cv-61729-DPG Document 1 Entered on FLSD Docket 07/20/2016 Page 7 of 13




         30.     On information and belief, Defendant’s advertisement informs users that they

  can scan the QR through their smartphone to obtain information relating to the Product. On

  information and belief, at least through internal testing, Defendant has used a digital image

  capturing device of a portable electronic device, such as the camera component of a smart

  phone for example, to capture a digital image of the QR code associated with the advertisement

  its Product.

         31.     On information and belief, Defendant’s capture of the digital image is processed

  by scanning technology loaded onto the portable electronic device. The scanning technology

  detects symbology (for example, a pattern within the QR code) associated with an object (for

  example, the QR code itself). On information and belief the scanning technology is used to

  decode the symbology to obtain a decode string. The decode string is sent to a remote server

  for further processing. Based on the decode string, the remote server sends information
                                             7
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Case 0:16-cv-61729-DPG Document 1 Entered on FLSD Docket 07/20/2016 Page 8 of 13




  associated with the QR code, which is received by the user of the portable electronic device

  and displayed on a display associated with the portable electronic device.

         32.     For example, if a user scans a QR code associated with the advertising of the

  Product, scanning technology decodes the pattern of the QR code to obtain a decode string and

  sends the decode string to a remote server. The server returns information associated with the

  QR code. In this example, the information received by the user and displayed on the portable

  electronic device is additional information about the Product as illustrated below, including,

  but not limited to, information on downloading the Product:




         33.     Defendant’s actions complained of herein will continue unless Defendant is

  enjoined by this court.

         34.     Defendant’s actions complained of herein are causing irreparable harm and
                                                  8
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Case 0:16-cv-61729-DPG Document 1 Entered on FLSD Docket 07/20/2016 Page 9 of 13




  monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

  and restrained by this Court.

         35.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                   COUNT III
               (INFRINGEMENT OF UNITED STATES PATENT NO. 8,936,190)

         36.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

         37.     This cause of action arises under the patent laws of the United States and, in

  particular, under 35 U.S.C. §§ 271, et seq.

         38.     Plaintiff is the owner by assignment of the ‘190 Patent with sole rights to

  enforce the ‘190 patent and sue infringers.

         39.     A copy of the ‘190 Patent, titled “System and Method for Presenting

  Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit C.

         40.     The ‘190 Patent is valid, enforceable, and was duly issued in full compliance

  with Title 35 of the United States Code.

         41.     On information and belief, Defendant has infringed and continues to infringe

  one or more claims, including at least Claim 1, of the ‘190 Patent by using and/or incorporating

  Quick Response Codes (QR codes) in advertising media in a manner covered by one or more

  claims of the ‘190 Patent. Defendant has infringed and continues to infringe the ‘190 Patent in

  violation of 35 U.S.C. § 271.

         42.     On information and belief, Defendant has, at least through internal testing, used

  or incorporated QR codes in advertising media, associating such QR codes with products

  and/or services. One specific example of Defendant’s activity involves the use of QR codes in

  Internet advertisements for Defendant’s “Brother iPrint&Scan” app. (“Product”).

         43.     For example, on information and belief, Defendant has at least internally tested
                                                  9
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Case 0:16-cv-61729-DPG Document 1 Entered on FLSD Docket 07/20/2016 Page 10 of 13




  the functionality of its QR codes in connection with the Internet advertising of its Product. On

  information and belief, Defendant has captured a digital image of a QR code associated with

  such advertising, an example of which is shown below and may be viewed at:

  http://www.brother-usa.com/downloads/android-app-printing.aspx




         44.     On information and belief, Defendant’s advertisement informs users that they

  can scan the QR through their smartphone to obtain information relating to the Product. On

  information and belief, at least through internal testing, Defendant has used a digital image

  capturing device of a portable electronic device, such as the camera component of a smart

  phone for example, to capture a digital image of the QR code associated with the advertisement

  its Product.

         45.     On information and belief, Defendant’s capture of the digital image is processed

  by scanning technology loaded onto the portable electronic device. The scanning technology
                                               10
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Case 0:16-cv-61729-DPG Document 1 Entered on FLSD Docket 07/20/2016 Page 11 of 13




  detects symbology (for example, a pattern within the QR code) associated with an object (for

  example, the QR code itself). On information and belief the scanning technology is used to

  decode the symbology to obtain a decode string. The decode string is sent to a remote server

  for further processing. Based on the decode string, the remote server sends information

  associated with the QR code, which is received by the user of the portable electronic device

  and displayed on a display associated with the portable electronic device.

         46.     For example, if a user scans a QR code associated with the advertising of the

  Product, scanning technology decodes the pattern of the QR code to obtain a decode string and

  sends the decode string to a remote server. The server returns information associated with the

  QR code. In this example, the information received by the user and displayed on the portable

  electronic device is additional information about the Product as illustrated below, including,

  but not limited to, information on downloading the Product:




                                                 11
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Case 0:16-cv-61729-DPG Document 1 Entered on FLSD Docket 07/20/2016 Page 12 of 13




            47.     Defendant’s actions complained of herein will continue unless Defendant is

  enjoined by this court.

            48.     Defendant’s actions complained of herein are causing irreparable harm and

  monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

  and restrained by this Court.

            49.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                       PRAYER FOR RELIEF

            WHEREFORE, Plaintiff asks the Court to:

            (a)     Enter judgment for Plaintiff on this Complaint on all causes of action asserted

  herein;

            (b)     Enter an Order enjoining Defendant, its agents, officers, servants, employees,

  attorneys, and all persons in active concert or participation with Defendant who receive notice

  of the order from further infringement of United States Patents No. 8,424,752, No. 8,651,369,

  and No. 8,936,190 (or, in the alternative, awarding Plaintiff running royalties from the time of

  judgment going forward);

            (c)     Award Plaintiff damages resulting from Defendant’s infringement in

  accordance with 35 U.S.C. § 284;

            (d)     Award Plaintiff pre-judgment and post-judgment interest and costs; and

            (e)     Award Plaintiff such further relief to which the Court finds Plaintiff entitled

  under law or equity.




                                                    12
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Case 0:16-cv-61729-DPG Document 1 Entered on FLSD Docket 07/20/2016 Page 13 of 13




                                  DEMAND FOR JURY TRIAL
          Plaintiff demands a trial by jury for all claims so triable.

  Dated: July 20, 2016                          Respectfully submitted,

                                                  /s/ Joel B. Rothman
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                                                Florida Bar Number 98220
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                                                  13
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